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     (916) 444-7100
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     Attorney for Defendant
5
     SEAN MCCLENDON
6
                             IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,                       )        No. 2:11-CR-00353 MCE
                                                     )
10                                                   )
            Plaintiff,                               )       STIPULATION AND
11                                                   )       ORDER CONTINUING STATUS
     v.                                              )       CONFERENCE
12                                                   )
     SEAN MCCLENDON, et al.,                         )
13                                                   )
                                                     )       Judge: Honorable Morrison J. England
14
            Defendants.                              )
                                                     )
15                                                   )
                                                     )
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17          IT IS HEREBY stipulated between the UNITED STATES OF AMERICA through its

18   undersigned counsel, Jean Hobler, Assistant United States Attorney, together with counsel for

19   defendant Sean McClendon, Preeti K. Bajwa, Esq., and counsel for defendant Anthony Salcedo,

20   Douglas Beever, Esq., hereby agree and stipulate that the status conference presently set for

21   September 29, 2011 be continued to November 10 , 2011, at 9:00 a.m., thus vacating the

22   presently set status conference.

23          Further, all of the parties, the United States of America and all of the defendants as stated

24   above, hereby agree and stipulate that time under the Speedy Trial Act should be excluded under

25   Title 18, United States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local

26   code T-2 (unusual and complex case) and Local Code T-4 (to allow defense counsel time to

27   prepare) from the date of the parties’ stipulation, September 29       , 2011 to and including

28   Thursday November 10, 2011.



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1                      TIME EXCLUDED UNDER THE SPEEDY TRIAL ACT
2           The parties (the government and defendants) agree and stipulate that with the voluminous
3    discovery, the complex legal issues involved in the case and the time needed by all defendants to
4    review all of the discovery produced by the government to date, it is unreasonable to expect
5    adequate preparation for pretrial proceedings and trial itself within the time limits established in
6    § 3161. In addition, the parties stipulate and agree that the continuance requested herein is
7    necessary to provide defense counsel reasonable time to prepare their respective clients' defenses
8    taking into account due diligence and that the interests of justice in granting this reasonable
9    request for a continuance outweighs the best interests of the public and defendants for a speedy
10   trial in this case, pursuant to Title 18, United States Code, Section 3161(h)(7)(A) and (B)(ii) and
11   (iv), corresponding to Local Code T-2 (unusual and complex case) and Local Code T-4 (to allow
12   defense counsel time to prepare).
13                                                                 Respectfully submitted
14

15   Dated: September 27, 2011                                     /s/ Preeti K. Bajwa
                                                                   PREETI K. BAJWA
16
                                                                   Attorney for Defendant
17                                                                 Sean McClendon

18   Dated: September 27, 2011                                     /s/ Douglas Beevers
                                                                   DOUGLAS BEEVERS
19
                                                                   Attorney for Defendant
20                                                                 Anthony Salcedo

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22
     Dated: September 27, 2011                                     Benjamin B. Wagner
                                                                   United States Attorney
23
                                                           by:     /s/ Jean Hobler
24                                                                 JEAN HOBLER
25
                                                                   Assistant U.S. Attorney

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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9

10   UNITED STATES OF AMERICA,                        ) No. 2:11-CR-00353
                                                      )
                                                      ) ORDER TO
11            Plaintiff,                              ) CONTINUE STATUS CONFERNCE
12
                                                      )
     v.                                               )
                                                      )
13
     SEAN MCCLENDON, et al.,                          )
14
                                                      )
                                                      )
              Defendants.                             )
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                                                      )
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              The Court, having received, read, and considered the stipulation of the parties, and good

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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based

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     on the stipulation of the parties and the recitation of facts contained therein, the Court finds that

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     this case is unusual and complex and that it is unreasonable to expect adequate preparation for

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     pretrial proceedings and trial itself within the time limits established in 18 U.S.C. § 3161. In

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     addition, the Court specifically finds that the failure to grant a continuance in this case would

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     deny defense counsel reasonable time necessary for effective preparation, taking into account the

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     exercise of due diligence. The Court finds that the ends of justice to be served by granting the

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     requested continuance outweigh the best interests of the public and the defendants in a speedy

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     trial.

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1                           The Court orders that the time from the date of the parties' stipulation, September 29,
2    2011, to and including November 10, 2011, shall be excluded from computation of time within
3    which the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18
4    U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T2 (unusual and complex case) and
5    T4 (reasonable time for defense counsel to prepare). It is further ordered that the September 29,
6    2011, status conference shall be continued until November 10, 2011 at 9:00 a.m.
7                           IT IS SO ORDERED.
8
     September 28, 2011
9
                                                              __________________________________
10                                                            MORRISON C. ENGLAND, JR
                                                              UNITED STATES DISTRICT JUDGE
11   DEAC_Signatu re-END:




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